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       Strzok v. Garland, et al., No. 1:19-cv-2367-ABJ (D.D.C.)




              Plaintiff’s Exhibit 72

To Plaintiff’s Summary Judgment Memorandum
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MacColl, Christopher

From:                             Humphreys, Bradley (CIV) <Bradley.Humphreys@usdoj.gov>
Sent:                             Tuesday, August 6, 2024 11:17 AM
To:                               MacColl, Christopher
Cc:                               Goelman, Aitan; Richard Salzman; Lynch, Christopher M. (CIV); Gaffney, Michael J. (CIV);
                                  Abbuhl, Joshua (CIV)
Subject:                          RE: Strzok v. Garland
Attachments:                      2024-08-06 - Letter re FBI Production.pdf; FBI0070090.pdf


Thanks, Chris. Please see the aftached lefter and producfion.

Best,
Brad

From: MacColl, Christopher <CMacColl@zuckerman.com>
Sent: Tuesday, August 06, 2024 9:49 AM
To: Humphreys, Bradley (CIV) <Bradley.Humphreys@usdoj.gov>
Cc: Goelman, Aitan <AGoelman@zuckerman.com>; Richard Salzman <ras@hellerhuron.com>; Lynch, Christopher M.
(CIV) <Christopher.M.Lynch@usdoj.gov>; Gaffney, Michael J. (CIV) <Michael.J.Gaffney@usdoj.gov>; Abbuhl, Joshua (CIV)
<Joshua.Abbuhl@usdoj.gov>
Subject: [EXTERNAL] RE: Strzok v. Garland

Thanks, Brad. That works to resolve the document issue.

I think we sfill need to get you an update on the interrogatory responses and doc producfions related to Pete’s income
for last year, although I cannot imagine that those will inform your SJ mofion.

Chris

From: Humphreys, Bradley (CIV) <Bradley.Humphreys@usdoj.gov>
Sent: Tuesday, August 6, 2024 9:14 AM
To: MacColl, Christopher <CMacColl@zuckerman.com>
Cc: Goelman, Aitan <AGoelman@zuckerman.com>; Richard Salzman <ras@hellerhuron.com>; Lynch, Christopher M.
(CIV) <Christopher.M.Lynch@usdoj.gov>; Gaffney, Michael J. (CIV) <Michael.J.Gaffney@usdoj.gov>; Abbuhl, Joshua (CIV)
<Joshua.Abbuhl@usdoj.gov>
Subject: RE: Strzok v. Garland

Hi Chris,

We’ve had a chance to confer with FBI. As we’ve explained before, we do not believe that producing any material
related to post 2018 changes to last chance agreements falls within defendants’ duty to supplement. However, to
resolve this dispute without further involvement of the court, FBI would agree to produce the current template for last
chance agreements used by OPR. We think that gives you what you’re looking for, particularly given our recent
production of FBI0070089. But if you’re insisting that FBI search for and produce “any [other] documents associated
with the policy and practice change,” then FBI does not agree, and I think we’re still at an impasse. The court reiterated
in the recent minute order that discovery has long been closed, and defendants are not willing to conduct a further
search for documents that, even assuming they exist, were created years after Mr. Strzok’s removal and that are outside
the period for which the parties agreed Defendants would search for and produce documents.

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As to the recent production, and as I explained on our call, the FBI attorneys assigned to the case did not know of the
documents until very recently. They became aware of them by happenstance in the course of their work on another
matter. We supplemented very quickly after they became aware of the materials.

Thanks,
Brad



From: MacColl, Christopher <CMacColl@zuckerman.com>
Sent: Tuesday, July 30, 2024 5:33 PM
To: Humphreys, Bradley (CIV) <Bradley.Humphreys@usdoj.gov>
Cc: Goelman, Aitan <AGoelman@zuckerman.com>; Richard Salzman <ras@hellerhuron.com>; Lynch, Christopher M.
(CIV) <Christopher.M.Lynch@usdoj.gov>; Gaffney, Michael J. (CIV) <Michael.J.Gaffney@usdoj.gov>; Abbuhl, Joshua (CIV)
<Joshua.Abbuhl@usdoj.gov>
Subject: [EXTERNAL] RE: Strzok v. Garland

Hi Brad,

We are considering what steps are necessary to remedy the late producfion of these documents.

Your JSR implied that you might be open to producing the informafion requested (exemplar lefter and any documents
associated with the policy and pracfice change leading to the late 2023 amended disciplinary nofices). Do you have a
posifion for us on that?

Relatedly, we would like to know why these documents were produced late, whether FBI aftorneys working on this case
(including those who appeared at Mr. Wray’s deposifion were aware of them), and what the FBI’s posifion is on their
relevance, if any?

Thanks,
Chris

From: Humphreys, Bradley (CIV) <Bradley.Humphreys@usdoj.gov>
Sent: Friday, July 26, 2024 12:02 PM
To: MacColl, Christopher <CMacColl@zuckerman.com>
Cc: Goelman, Aitan <AGoelman@zuckerman.com>; Richard Salzman <ras@hellerhuron.com>; Lynch, Christopher M.
(CIV) <Christopher.M.Lynch@usdoj.gov>; Gaffney, Michael J. (CIV) <Michael.J.Gaffney@usdoj.gov>; Abbuhl, Joshua (CIV)
<Joshua.Abbuhl@usdoj.gov>
Subject: Strzok v. Garland

Chris,

As we just discussed, please see the aftached two documents that FBI is producing under the protecfive order.

Thanks,
Brad




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